Case: 5:17-cv-02408-SL Doc #: 1-1 Filed: 11/16/17 1of 4. PagelD #: 52

IS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil caver sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in ‘September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

J. Endres Northeast Ohio Medical University, Northeast Ohio Medical University

Board of Trustees, Sandra Emerick; Jay A. Gershen
(b) County of Residence of First Listed Plaintiff Franklin __
(EXCEPT IN U.S, PLAINTIFF CASES)

County of Residence of First Listed Defendant
CIN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION C, ASES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVE

 

(c) Attormeys (Firm Name, Address, and Telephone Number) Attormeys (lf Known)
See attached

 

 

Tf. BASIS OF JURISDICTION (Place an °X” in One Box Only} HI. CITIZENSHIP OF PRINCIPAL PARTIES (ptace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government 43° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 01 © 1 Incorporated or Principal Place go4 a4

of Business In This State

 

G2 US. Government M4 Diversity Citizen of Another State 2 © 2 Incorporated and Principal Place aos a5
Defendant (indicate Citizenship of Parties in Item IL) of Business In Another State
Citizen ar Subject of a 0 3 O 3. Foreign Nation Qo6 O86
Foreign Country

 

IV. NATURE OF SUIT (Place an “X""i

 

One Box Only)

     
 

Cc lick here for: r: Nature of Sui Code Descriptions.

 
  
 

    
        
 

  

0 110 Insurance PERSONAL INJURY PERSONAL INJURY = [0 625 Drug Related Seizure 0) 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine 1 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 0 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729{a))}
© 140 Negotiable Instrument Liability (1 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharnaceutical D O 410 Antitrust

& Enforcement of Judgment Slander Personal Injury {J 820 Copyrights O 430 Banks and Banking
© 15! Medicare Act © 330 Federal Employers’ Product Liability 1 830 Patent 450 Commerce
C 152 Recovery of Detaulted Liability © 368 Asbestos Personal C1 835 Patent - Abbreviated © 460 Deportation

Student Loans 0 340 Marine Jnjury Product New Drug Application | 470 Racketeer Influenced and

(Excludes Veterans} 1 345 Marine Product Liability a 840 Trademark: Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY : c CURE O 480 Consumer Credit

of Veteran’s Bencfits $F 350 Motor Vehicle © 370 Other Fraud G 710 Fair Labor Standards qo 861 TIA (1395ff) C1 490 Cable/Sat TV
1 160 Stockholders’ Suits ©) 355 Motor Vehicle O 37) Truth in Lending Act C) 862 Black Lung (923) G 850 Securities/Commodities/
6 190 Other Contract Product Liability © 380 Other Personat © 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
(J 195 Contract Product Liability | 360 Other Personal Property Damage Relations C1 864 SSID Title XVI [1 890 Other Statutory Actions
C1 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act 0 865 RS] (405(g)) © 891 Agricultural Acts

71 362 Personal Injury - Product Liability O) 751 Family and Medical CO 893 Environmental Matters
Medical Malpractice Leave Act

     
 
   

© 895 Freedom of Information

  

 

( i RO PETITION O 790 Other Labor Litigation Act
© 210 Land Condemnation 440 Other Civil Rights Habeas as Corpus: O 791 Employee Retirement J 870 Taxes os U. S. Plaintiff C7 896 Arbitration
O 220 Foreclosure oF 441 Voting O 463 Alien Detainee Income Security Act or Defendant) C1 899 Adininistrative Procedure
O 230 Rent Lease & Ejectment o) 442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
C1 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations CO 530 General 1 950 Constitutionality of
© 290 All Other Real Property ©) 445 Amer. w/Disabilities -] (1 535 Death Penalty State Statutes
Employment Other: ©) 462 Naturalization ‘Application
21 446 Amer. w/Disabilities -| J 540 Mandamus & Other [C3 465 Other Immigration
Other © 550 Civil Rights Actions
J 448 Education © 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

M1 Original 2 Removed from O 3  Remanded from C1 4 Reinstatedor © 5 Transferred from © 6 Mutltidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the US. Civil Statute under which you are filing (De not cite jurisdictional statutes uniess diversity):
, [42 U.S.C. § 1983 and Title 2 of ADA
VIL. CAUSE OF ACTION $

Brief description of cause:
Deprivation of due process and violation of ADA in expelling Plaintiff from University

 

 

 

 

 

VII. REQUESTED IN O) CHECK IF THIS IS A CLASS ACTION DEMAND $ arount to CHECK YES only if demanded tn complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. be determined JURY DEMAND: {Yes  CINo
VIII. RELATED CASE(S) see instructions
IF ANY (ee ISIE GDGE DOCKETNUMBER sis -
DATE , 2 SIGNATURE OF, Tey F RE TA / wh
I . f
(elit E Wal)
FOR OFFICE USE ONLY

 

MAG. JUDGE

RECEIPT # AMOUNT APPLYING IFP SUDGE

 
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Andrew T. Miltenberg

(subject to admission pro hac vice)
Diana R. Warshow

(subject to admission pro hac vice)
Nesenoff & Miltenberg, LLP

363 Seventh Avenue, Fifth Floor
New York, NY 10001
212-736-4500

J. Michael Murray (0019626)
Berkman, Gordon, Murray & DeVan
55 Public Square, Suite 2200
Cleveland, Ohio 44113
216-781-5245
Hl.

Case: 5:17-cv-02408-SL Doc #: 1-1 Filed: 11/16/17 3 0f 4. PagelD #: 54

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

Civil Categories: (Please check one category only).

1. | General Civil
2. Administrative Review/Social Security
3. Habeas Corpus Death Penalty

 

 

 

 

*If under Title 28, §2255, name the SENTENCING JUDGE: .

CASE NUMBER: |

RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

This action is [ _}revatep to another PENDING civil case. This action is { j REFILED pursuant to LR 3.1.

If applicable, please indicate on page 1 in section Vill, the name of the Judge and case number.

In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shail be filed at any of the
divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

(1) Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
county

county; Portage

Corporation For the purpose of answering the above, a corporation is deemed to bea resident of that county in which
it has its principal place of business in that district.

(2) Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.

COUNTY:

(3) Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle

place of business within the district, and the cause of action arose or the event complained of occurred outside
this district, please set forth the county of the plaintiffs residence.
COUNTY:

The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section Ill, please check the appropriate division.

 

 

EASTERN DIVISION
AKRON (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
CLEVELAND (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga, Lake,
Lorain, Medina and Richland)
| YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull}
WESTERN DIVISION
L | TOLEDO (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,

Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
VanWert, Williams, Wood and Wyandot)
Case: 5:17-cv-02408-SL Doc #: 1-1 Filed: 11/16/17 4o0f 4. PagelD #: 55

JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

{c)

i.

UL

IV.

Vv.

VIL.

VUI.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the

citizenship of the different parties must be checked. (See Section II] below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an '"X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a), Do not use this for within district transfers or
multidistrict litigation transfers,

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407,
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.

PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction,
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
